 Case 5:15-cv-02325-VAP-SP Document 15 Filed 02/26/16 Page 1 of 3 Page ID #:55


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13

14
                           UNITED STATES DISTRICT COURT
15
                          CENTRAL DISTRICT OF CALIFORNIA
16
                                  RIVERSIDE DIVISION
17

18

19
     JESS WHISENHLTNT,                            Case No.: 5:15-CV-02325-VAP-SP

20
           Plaintiff,                              NOTICE OF SETTLEMENT

21
     v.

22
     COLLECTION BUREAU OF THE
     HUDSON VALLEY,INC.,
23
           Defendant.
24

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                                               -1-
                                        NOTICE OF SETTLEMENT
 Case 5:15-cv-02325-VAP-SP Document 15 Filed 02/26/16 Page 2 of 3 Page ID #:56


 1          NOW COMES THE PARTIES by and through their attorneys to respectfully
 2    notify this Honorable Court that this case has settled. The Parties request that this
 3   Honorable Court allow sixty(60) days with which to file a formal dismissal. This Court
 4 shall retain jurisdiction over this matter until fully resolved.

 5          THE PARTIES also requests that the Scheduling Conference scheduled for
 6    Monday, February 29, 2016 be vacated. A Proposed Order has been filed concurrently
 7    with the Notice of Settlement.
 8
     ~ Dated: February 26, 2016
 9                                          ELLIS LAW GROUP LLP
10
                                            By /s/ Andrew M. Steinheimer
11                                               n rew M. teen eimer
                                               Attorne for Defendant
12                                            COLLECTION BUREAU OF THE
                                              HUDSON VALLEY,INC.
13

14 I Dated: February 26, 2016
                                            PRICE LAW GROUP
15

16                                          By /s/ Stuart W. Price
                                                 tuart        nce
17                                              Attorn~e~y~ ~~f~~or Plaintiff
                                                JESS WHISENHLTNT
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                                        NOTICE OF SETTLEMENT
 Case 5:15-cv-02325-VAP-SP Document 15 Filed 02/26/16 Page 3 of 3 Page ID #:57

                                     CERTIFICATE OF SERVICE
     1
               I, Jennifer Mueller, declare:
 2
               I am a citizen of the United States, am over the age of eighteen years, and am not
 3
         a party to or interested in the within entitled cause. My business address is 740
 4
         University Avenue, Suite 100, Sacramento, CA 95825.
 5
         On February 26, 2016, I served the following documents) on the parties in the
 6
   within action:
 7
                                       NOTICE OF SETTLEMENT
 8
 9               VIA ELECTRONIC SERVICE: The above-described documents) wi11
           X     delivered electronically through the Court's ECF/PACER electronic filing be
1o               s~ystem, as stipulated by all parties to constitute personal service, to the
                 following:
11

12 Stuart Price                                       Attorneys for Y1~
   PRICE LAW GROUP                                    Jess Whlsenhunt
13
   15760 Ventura Boulevard
14 Suite 830
15 Encino, CA 91436
16
               I declare under penalty of perjury under the laws ofthe State of California that
17                                                                                                the
         foregoing is a true and correct statement and that this Certificate was execute
18                                                                                       d on
         February 26, 2016.
19

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21                                             B~~ er Mu          er
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                                           NOTICE OF SETTLEMENT
